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 1   THOMAS A. JOHNSON, #119203
     400 Capitol Mall, Suite 1620
 2   Sacramento, California 95814
     Telephone: (916) 422-4022
 3
     Attorney for Defendant Alvaro Gomez
 4
 5
 6                       IN THE UNITED STATES DISTRICT COURT
 7                    FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
                                                )   Case No.: 2:07-CR-00248-07-WBS
 9   UNITED STATES OF AMERICA,                  )
                                                )   STIPULATION AND ORDER TO
10                Plaintiff,                    )   CONTINUE JUDGMENT AND
                                                )   SENTENCING
11       v.                                     )
     ALVARO GOMEZ,                              )   Date: April 30, 2012
12                                              )   Time: 9:30 a.m.
                  Defendant.                    )   Judge: Hon. William B. Shubb
13                                              )
14
15         IT IS HEREBY STIPULATED BY AND AMONG ALL PARTIES that the
16   Judgment and Sentencing scheduled for February 27, 2012 at 9:30 a.m. is continued to
17   April 30, 2012 at 9:30 a.m. in the same courtroom. The Presentence Report was recently
18   received and Defendant needs additional time to prepare for sentencing. Jason Hitt,
19   Assistant United States Attorney, and Thomas A. Johnson, Defendant’s attorney, both
20   agree to this continuance. The Probation Officer has also been informed and does not
21   oppose a continuance.
22
23   IT IS SO STIPULATED.
24
25   DATED: February 3, 2012                 By:     /s/ Thomas A. Johnson_____
                                                     THOMAS A. JOHNSON
26                                                   Attorney for Defendant
                                                     ALVARO GOMEZ
27
28



                               STIPULATION AND ORDER              -1-
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 1   DATED: February 3, 2012                  BENJAMIN WAGNER
                                              United States Attorney
 2
                                        By:   /s/ Thomas A. Johnson for_
 3                                            Jason Hitt
                                              Assistant U.S. Attorney
 4
 5   IT IS SO ORDERED.
 6
     Dated: February 6, 2012
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                           STIPULATION AND ORDER          -2-
           Case 2:07-cr-00248-WBS-DB Document 1044 Filed 02/07/12 Page 3 of 4



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 5                               IN THE UNITED STATES DISTRICT COURT
 6                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 7
                                                     )   Case No.: 2:07-CR-00248-07-WBS
 8   UNITED STATES OF AMERICA,                       )
                                                     )   MODIFICATION OF SCHEDULE FOR
 9                  Plaintiff,                       )   PRE-SENTENCE REPORT AND FOR
                                                     )   FILING OF OBJECTIONS TO THE PRE-
10       v.                                          )   SENTENCE REPORT
     ALVARO COLBAIN GOMEZ,                           )
11                                                   )
                    Defendant.                       )
12                                                   )
13
      The Probation Officer and all parties shall adhere to this schedule unless it is later modified by
14                                               this Court.

15   Date of Referral to Probation Officer:                       July 5, 2011
                                                                  (Date of Plea or Verdict)
16
17   Judgment and Sentencing date:                                April 30, 2012

18   Reply or Statement                                           April 23, 2012
19
     Motion for Correction of the Pre-Sentence
20   Report shall be filed with the court and                     April 16, 2012
     served on the Probation Officer and opposing
21   counsel no later than:
22
     The Pre-Sentence Report shall be filed with
23   the court and disclosed to counsel no later                  April 9, 2012
     than:
24
25   Counsel’s written objections to the Pre-
     Sentence Report shall be delivered to the                    April 2, 2012
26   Probation Officer and opposing counsel
     no later than:
27
28   The proposed Pre-Sentence Report                             March 23, 2012
     shall be disclosed to counsel no later than:



                                  STIPULATION AND ORDER                  -3-
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 1
     Copies of this schedule provided to: _____ AUSA   _____ Defense Counsel   _____ USPO
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     Dated:                            By: __/s/___________________________________
 3                                           COURTROOM CLERK
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                            STIPULATION AND ORDER               -4-
